       CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 22-223 (NEB/DTS)

 UNITED STATES OF AMERICA,

                    Plaintiff,
                                                    GOVERNMENT’S RESPONSE TO
       v.
                                                    DEFENDANTS’ MOTION TO
                                                    DISMISS COUNTS 15-40 BASED
 AIMEE MARIE BOCK, et al.,
                                                    ON SNYDER V. UNITED STATES
                    Defendants.



      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, Joseph H. Thompson, Harry M.

Jacobs, Matthew S. Ebert, and Daniel W. Bobier, Assistant U.S. Attorneys,

respectfully submits the following consolidated response to defendants’ motion to

dismiss Counts 15-40 based on the Supreme Court’s recent decision in Snyder v.

United States. Dkt. ##327, 331, 337, 341.

I.    BACKGROUND

      The defendants are charged with carrying out a massive fraudulent scheme to

obtain and dole out hundreds of millions of dollars in federal child nutrition program

funds. The scheme was carried out by individuals who worked at Feeding Our Future,

a company that sponsored participation in the federal child nutrition program, along

with entities that participated in the program under the sponsorship of Feeding Our

Future. The indictment alleges that as Executive Director of Feeding Our Future,

defendant Aimee Bock oversaw a massive scheme to defraud carried out by sites

under its sponsorship. Bock and her company recruited individuals and entities to

                                            1
       CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 2 of 7




open up more than 200 federal child nutrition program sites throughout the state of

Minnesota. The sites fraudulently claimed to be serving meals to thousands of

children a day within just days or weeks of being formed and despite having few, if

any, staff and little to no experience serving this volume of meals. Dkt. #1 at ¶24.

      The indictment further alleges that in support of these fraudulent claims, the

conspirators created and submitted fake documentation to cover up their fraud,

including fraudulent meal count sheets purporting to document the number of

children and meals served at each site, fake invoices purporting to document their

purchase of food to be served at the sites, and fake attendance rosters purporting to

list the name and age of each child that received a meal each day. Dkt. #1 at ¶¶26-

27.

      The indictment alleges that “[d]espite knowing the claims were fraudulent,

BOCK and Feeding Our Future submitted her co-conspirators’ fraudulent claims to

MDE and then disbursed the fraudulently obtained Federal Child Nutrition Program

funds to the individuals and entities involved in the scheme.” Dkt. #1 at ¶28.

      The indictment further alleges that Bock and other Feeding Our Future

employees “solicited and received bribes and kickbacks from individuals and

companies sponsored by Feeding Our Future.” Dkt. #1 at ¶31. The indictment

expressly alleges that “Feeding Our Future operated a pay-to-play scheme, where

individuals seeking to operate fraudulent sites under the sponsorship of Feeding Our

Future had to kickback a portion of their fraudulent proceeds to Feeding Our Future

employees.” Id.



                                          2
        CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 3 of 7




       Based on the above, a grand jury returned a 61-count indictment charging the

defendants with a variety of crimes, including conspiracy to commit federal programs

bribery, in violation of 18, U.S.C. §§ 371 and 666, and federal programs bribery, in

violation of 18, U.S.C. § 666.

II.    DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED BECAUSE THE
       INDICTMENT ALLEGES THEY PAID BRIBES AND KICKBACKS TO FEEDING OUR
       FUTURE EMPLOYEES IN EXCHANGE FOR ITS SPONSORSHIP OF THEIR
       FRAUDULENT PARTICIPATION IN THE FEDERAL CHILD NUTRITION PROGRAM

       Defendants Aimee Bock and Abdulkadir Salah have moved to dismiss the

conspiracy to commit federal programs bribery and federal programs bribery counts

based on the Supreme Court’s recent decision in Snyder v. United States, 144 S.Ct.

1947 (2024).1

       Section 666 prohibits corrupt payments to agents of federally funded entities

made to “influence or reward” those agents in connection with government business.

18 U.S.C. § 666. In Snyder, the Supreme Court held that 18 U.S.C. § 666 reaches only

quid pro quo bribery agreed to before a public official’s action and does not criminalize

gratuities—payments made as a reward or token of appreciation for official action,

typically after the fact.

       In Snyder, the former mayor of Portage, Indiana, was convicted under Section

666 for accepting $13,000 from a trucking company after having steered city contracts



1      Defendants Salim Said, Abdihakim Ahmed, and Abdinasir Abshir filed motions to join
in the motions to dismiss with respect to the bribery counts they are facing. Dkt. ##337-38,
341. As the government noted during a recent status conference, defendant Ahmed Artan’s
inclusion in the Count 15 conspiracy to commit federal programs bribery charge was the
result of a scrivener’s error. The government intends to file a motion to dismiss that count
with respect to defendant Artan.


                                             3
         CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 4 of 7




to that company during his mayoralty. Snyder challenged his conviction on the theory

that Section 666 covers only quid pro quo bribes, not gratuities, and argued that the

jury should have been instructed accordingly. Whereas a quid pro quo bribe requires

an upfront agreement to act in exchange for the bribe, a gratuity is a typically

backward-looking payment to reward action already taken.

       The Court agreed that Section 666 does not prohibit gratuities. The Court

reiterated, however, that the statute prohibits the solicitation, receipt, or payment of

bribes for a future official act even where the bribe is paid after the official act so long

as the agreement to solicit, receive, or pay bribes occurred before the official action.

Snyder, 144 S.Ct. at 1959.

       The fact that a payment or benefit was received after an official action does not

automatically render that payment a gratuity. Rather, a payment postdating the

action still constitutes a bribe if it was made in satisfaction of an agreement reached

before the action. The critical inquiry following Snyder is not when (or even how) a

payment was made—e.g., each time a favorable action was undertaken, just once for

a series of desired actions, or several times for a single action—but why the payment

was made: i.e., whether it was made in satisfaction of some implicit or explicit

agreement to secure some official action.2


2       As several courts of appeals have recognized, the government does not need to match
a quid to every quo in order to establish a quid pro quo bribery scheme in violation of Section
666. See, e.g., United States v. Roberson, 998 F.3d 1237, 1245 (11th Cir. 2021) (“The ‘retainer,’
‘as opportunities arise,’ or ‘stream of benefits’ theory of bribery[ ] occurs when a person bribes
an individual or entity in exchange for a continuing course of conduct.”).United States v.
Jennings, 160 F.3d 1006, 1014 (4th Cir. 1998) (“[T]he intended exchange in bribery can be
‘this for these’ or ‘these for these,’ not just ‘this for that.’ ”); United States v. Martínez, 994
F.3d 1, 7 (1st Cir. 2021) (“[B]ased on what is known as a ‘stream of benefits’ theory, . . . the

                                                4
        CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 5 of 7




      Here, the indictment alleges that the defendants engaged in a classic, quid pro

quo bribery and kickback scheme. The indictment alleges that “Feeding Our Future

operated a pay-to-play system, where individuals seeking to operate fraudulent sites

under the sponsorship of Feeding Our Future had to kickback a portion of their

fraudulent proceeds to Feeding Our Future employees.” Dkt. #1 at ¶31.3 The

indictment alleges further that many of the bribes and kickbacks were “disguised as

consulting payments or other legitimate payments to shell companies created by

Feeding Our Future employees.” Id. at ¶149c. The indictment then alleges an ongoing

stream of bribe and kickback payments from defendants Abdulkadir Salah, Salim

Said, Abdihakim Ahmed, Abdikadir Mohamud, and others to Bock and other Feeding

Our Future employees and shell companies under their control. Id. at ¶¶151-53, 155-

56, 159-78, 180.

      The fact that defendants kicked backed a portion of their fraudulent proceeds

to Feeding Our Future employees after they received them from the Minnesota

Department of Education does not turn this into a gratuities case. As Snyder

recognized, a defendant may not “defend against the bribery charge by saying that

the payment was received only after the official act and therefore could not have

‘influenced’ the act” where the government can prove—including through




government may ‘prove an agreement for the ongoing stream of benefits rather than . . . for
stand-alone bribes’ and so is not required to ‘link the value of the government business
conferred to any particular benefit received by the official.’ ”).
3      Although this paragraph appears in the allegations related to the wire fraud
conspiracy, it was incorporated by reference into Counts 15 through 40. Dkt. #1 at ¶¶146,
179.


                                            5
        CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 6 of 7




circumstantial evidence and reasonable inference—that the after-the-fact payment

was made in satisfaction of a preexisting agreement. Snyder, 144 S. Ct. at 1959; see

also United States v. Friedman, 854 F.2d 535, 554 (2d Cir. 1988) (“[E]vidence of a

corrupt agreement in bribery cases is usually circumstantial, because bribes are

seldom accompanied by written contracts, receipts or public declarations of

intentions.”); United States v. Wright, 665 F.3d 560, 569 (3d Cir. 2012) (“Parties to a

bribery scheme rarely reduce their intent to words, but the law does not require

that.”). At trial, the government expects to present testimony that individuals agreed

to kick back a portion of their fraudulently obtained federal child nutrition program

funds to Feeding Our Future employees in exchange for their sponsorship of their

fraudulent claims and participation in the federal child nutrition program.

       Finally, defendant Bock moves to dismiss the bribery counts against her on the

grounds that the $310,000 payment she received from defendants Abdulkadir Salah

was for the sale of a childcare center Bock operated. Dkt. #327. Perhaps recognizing

the childcare licenses cannot be bought and sold, she specifies that the payment was

for the childcare center’s “inventory” and “goodwill such as training and licensing

assistance.” Id. at 2, n.2. Setting aside the absurdity of this claim, it is not grounds

for a motion to dismiss. A pretrial motion to dismiss an indictment is not a vehicle for

assessing the strength or sufficiency of the government’s evidence. United States v.

Ferro, 252 F.3d 964, 967-68 (8th Cir. 2001). If Bock wants to raise this a defense, the

proper time to do so is at trial.




                                           6
        CASE 0:22-cr-00223-NEB-DTS Doc. 346 Filed 10/07/24 Page 7 of 7




III.   CONCLUSION

       For the reasons set forth above, the defendants’ motion to dismiss Counts 15-

40 should be denied.



Date: October 7, 2024                        Respectfully submitted,

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                                        BY: /s/ Joseph H. Thompson
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                                         7
